Case 1:25-cv-00804-BAH   Document 12-9   Filed 03/24/25   Page 1 of 32




                EXHIBIT I
    Case 1:25-cv-00804-BAH          Document 12-9    Filed 03/24/25   Page 2 of 32




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



UNITED STATES INSTITUTE OF PEACE,
2301 Constitution Avenue, NW, Washington, DC
20037,                                                    Civil Case No. _____25-
                                                          00804
AMBASSADOR JOHN J. SULLIVAN, in his
official capacity as Chair of the Board of
Directors of the United States Institute of Peace,
2301 Constitution Avenue, NW, Washington, DC
20037, and in his individual capacity,

NANCY ZIRKIN, in her official capacity as a               AMENDED
member of the Board of Directors of the United            COMPLAINT FOR
States Institute of Peace, 2301 Constitution              DECLARATORY AND
Avenue, NW, Washington, DC 20037, and in her              INJUNCTIVE RELIEF
individual capacity,

JUDY ANSLEY, in her official capacity as a
member of the Board of Directors of the United
States Institute of Peace, 2301 Constitution
Avenue, NW, Washington, DC 20037, and in her
individual capacity,

JOSEPH L. FALK, in his official capacity as a
member of the Board of Directors of the United
States Institute of Peace, 2301 Constitution
Avenue, NW, Washington, DC 20037, and in his
individual capacity,

KERRY KENNEDY, in her official capacity as a
member of the Board of Directors of the United
States Institute of Peace, 2301 Constitution
Avenue, NW, Washington, DC 20037, and in her
individual capacity,

MARY SWIG, in her official capacity as a
member of the Board of Directors of the United
States Institute of Peace, 2301 Constitution
Avenue, NW, Washington, DC 20037, and in her
individual capacity, and

AMBASSADOR GEORGE E. MOOSE, in his
official capacities as Acting President of the


                                               1
    Case 1:25-cv-00804-BAH            Document 12-9    Filed 03/24/25   Page 3 of 32




United States Institute of Peace and as an ex
officio member of the Board of Directors of the
United States Institute of Peace, 2301 Constitution
Avenue, NW, Washington, DC 20037, and in his
individual capacity,

               Plaintiffs,

       v.

KENNETH JACKSON, in his official capacity
as Assistant to the Administrator for Management
and Resources for USAID and in his purported
capacity as acting president of the United States
Institute of Peace, 1300 Pennsylvania Avenue,
NW, Washington, DC 20004,

U.S. DOGE SERVICE, 736 Jackson Place, NW,
Washington, DC 20503,

U.S. DOGE SERVICE TEMPORARY
ORGANIZATION, 736 Jackson Place, NW,
Washington, DC 20503,

AMY GLEASON, in her official capacity as the
Acting Administrator of U.S. DOGE Service and
U.S. DOGE Service Temporary Organization, 736
Jackson Place, NW, Washington, DC 20503,

JAMES BURNHAM, in his official capacity as
an employee of the U.S. DOGE Service or the
U.S. DOGE Service Temporary Organization, 736
Jackson Place, NW, Washington, DC 20503,

JACOB ALTIK, in his official capacity as an
employee of the U.S. DOGE Service or the U.S.
DOGE Service Temporary Organization, 736
Jackson Place, NW, Washington, DC 20503,

NATE CAVANAUGH, in his official capacity as
an employee of the U.S. DOGE Service or the
U.S. DOGE Service Temporary Organization, 736
Jackson Place, NW, Washington, DC 20503,

MARCO RUBIO, in his official capacity as the
U.S. Secretary of State and in his official capacity



                                                2
     Case 1:25-cv-00804-BAH           Document 12-9        Filed 03/24/25      Page 4 of 32




 as an ex officio member of the USIP Board of
 Directors, 2201 C Street, NW, Washington, DC
 20451,

 PETE HEGSETH, in his official capacity as the
 U.S. Secretary of Defense and in his official
 capacity as an ex officio member of the USIP
 Board of Directors, 1000 Defense Pentagon,
 Washington, DC 20301

 VICE ADMIRAL PETER A. GARVIN, in his
 official capacity as President of the National
 Defense University and in his official capacity as
 an ex officio member of the USIP Board of
 Directors, 300 5th Ave SW, Building 62, Fort
 Lesley J. McNair, Washington, DC 20319, and

 TRENT MORSE, in his official capacity as
 Deputy Director of Presidential Personnel in the
 White House Presidential Personnel Office, the
 White House Office, and the Executive Office of
 the President of the United States, 1600
 Pennsylvania Avenue, NW, Washington, DC
 20500, 1650 17th Street, NW, Washington, DC
 20006, and

 DONALD J. TRUMP, in his official capacity as
 President of the United States of America, 1600
 Pennsylvania Avenue, NW Washington, DC
 20500,

                Defendants.

                                  AMENDED COMPLAINT

       1.      Defendants’ lawless assault on, forcible attempt to dismantle Plaintiff United States

Institute of Peace (“the Institute” or “USIP”)—an independent nonprofit corporation established

by Congress in 1984 to work with the United States Government and other partners around the

world to help resolve and prevent violent conflicts— and the duly appointed members of its Board

of Directors began on February 19, 2025, with the issuance of an Executive Order titled




                                                 3
      Case 1:25-cv-00804-BAH            Document 12-9       Filed 03/24/25      Page 5 of 32




“Commencing the Reduction of the Federal Bureaucracy.”1 That Order incorrectly labeled the

Institute a “governmental entit[y]” that was part of the “Federal bureaucracy.” And contrary to

Congress’s finding that the Institute represents “the most efficient and immediate means” and “an

appropriate investment by” the United States to promote peace and the peaceful resolution of

conflicts, 22 U.S.C. § 4601(a), the President declared the Institute “unnecessary” and directed

steps to curtail its vital work.

        2.        Since then, the attacks on the Institute have escalated to include the unlawful

purported firing of all of the Institute’s Board members who were presidentially appointed and

confirmed by the Senate, including Plaintiffs Ambassador John J. Sullivan, Judy Ansley, Joseph

L. Falk, Kerry Kennedy, and Mary Swig, and Nancy Zirkin (the “Board Member Plaintiffs” and

together with the Institute, “Plaintiffs”); the unlawful purported firing of the Institute’s Acting

President, Plaintiff Ambassador George Moose, by ex officio board members Marco Rubio, Pete

Hegseth, and Vice Admiral Peter A. Garvin; and the unlawful attempt to install Defendant Kenneth

Jackson as the acting President.

        3.        On March 17, 2025, the attacks culminated in the literal trespass and takeover by

force by Defendants, including representatives of DOGE, of the Institute’s headquarters building

on Constitution Avenue. Once physically inside the Institute’s headquarters, DOGE personnel and

other representatives of Defendants have plundered the offices in an effort to access andcaused

physical destruction to the building—including tearing the USIP seal off of the wall—and moved

aggressively to gain control of the Institute’s infrastructure, including sensitive computer systems.




        1
             Exec. Order No. 14,217, 90 Fed. Reg. 10,577 (Feb. 25, 2025).


                                                  4
     Case 1:25-cv-00804-BAH             Document 12-9          Filed 03/24/25   Page 6 of 32




       4.        Plaintiffs seek the immediate intervention of this Court to stop Defendants from

completing the unlawful dismantling of the Institute and irreparably impairing Plaintiffs’ ability

to perform their vital peace promotion and conflict resolution work as tasked by Congress.

       5.        Specifically, Plaintiffs now file this Complaint and seek an immediate

administrative     stay,   temporary   restraining    order,    and   preliminary   and   permanent

injunctiveequitable relief (1) declaring Defendants’ efforts purporting to remove the Institute’s

Board members duly appointed under 22 U.S.C. § 4605(b)(4) and the Institute’s Acting President

Ambassador George Moose, unlawful, null and void, and without legal effect; (2) ordering that

the Institute’s Board members duly appointed under 22 U.S.C. § 4605(b)(4) and the Institute’s

Acting President, Ambassador George Moose may not be removed or in any way be treated as

having been removed, or otherwise be obstructed from their ability to carry out their respective

duties, absent express permission from the Court upon a finding that the action to remove them

complies with the USIP Act; (3) enjoining further trespass by Defendants against real and personal

property belonging to the Institute and ejecting Defendants from such property, and (4) enjoining

Defendants, or any other person acting in concert with Defendants, from maintaining, retaining,

gaining, or exercising any access or control over the Institute’s offices, facilities, computer

systems, or any other records, files, or resources, and from acting or purporting to act in the name

of Institute, and from using the Institute’s name, emblem, badge, seal and any other mark of

recognition of the Institute until the Court has an opportunity to fully consider and decide upon the

issues raised in this Complaint.

                                             PARTIES

       6.        Plaintiff United States Institute of Peace is an “independent nonprofit corporation”

established by Congress in 1984. 22 U.S.C. § 4604(b). The Institute works with the United States




                                                  5
      Case 1:25-cv-00804-BAH            Document 12-9        Filed 03/24/25      Page 7 of 32




Government and other partners around the world to help resolve and prevent violent conflicts. The

Institute is headquartered in Washington, D.C., at 2301 Constitution Avenue, NW, Washington,

DC 20037. The building (the “USIP headquarters building”) is owned by the Institute and sits on

land over which the Institute has administrative jurisdiction. Ex. A, Amended Declaration of

George Moose; Ex. B, Navy Transfer of Admin Jurisdiction; Ex. C, Potomac Annex Transfer of

Jurisdiction. The Institute also has presence in twenty-six countries around the world, including

seven field offices. The Institute employs 414 employees and personal services contractors to

carry out its statutory mandate. TheUnder the USIP ACT, the Institute is authorized to institute

civil actions in any court of competent jurisdiction. 22 U.S.C. § 4604(k).

       7.      Plaintiff Ambassador John J. Sullivan is a duly appointed member of the Institute’s

Board of Directors under 22 U.S.C. § 4605(b)(4) and brings this action in his official capacity as

Chair of the Institute’s Board of Directors, as well as in his individual capacity.

       8.      Plaintiff Nancy Zirkin is a duly appointed member of the Institute’s Board of

Directors under 22 U.S.C. § 4605(b)(4) and brings this action in her official capacity as a member

of the Institute’s Board, as well as in her individual capacity. Ms. Zirkin is the Vice Chair of the

Board of Directors.

       8.9.    Plaintiff Judy Ansley is a duly appointed member of the Institute’s Board of

Directors under 22 U.S.C. § 4605(b)(4) and brings this action in her official capacity as a member

of the Institute’s Board. , as well as in her individual capacity.

       9.10.   Plaintiff Joseph L. Falk is a duly appointed member of the Institute’s Board of

Directors under 22 U.S.C. § 4605(b)(4) and brings this action in his official capacity as a member

of the Institute’s Board, as well as in his individual capacity.




                                                   6
      Case 1:25-cv-00804-BAH           Document 12-9          Filed 03/24/25     Page 8 of 32




       10.11. Plaintiff Kerry Kennedy is a duly appointed member of the Institute’s Board of

Directors under 22 U.S.C. § 4605(b)(4) and brings this action in her official capacity as a member

of the Institute’s Board., as well as in her individual capacity.

       11.12. Plaintiff Mary Swig is a duly appointed member of the Institute’s Board of

Directors under 22 U.S.C. § 4605(b)(4) and brings this action in her official capacity as a member

of the Institute’s Board., as well as in her individual capacity.

       13.     The Board Member Plaintiffs include both Republicans and Democrats.

       14.     Plaintiff Ambassador George Moose is the duly appointed Acting President of the

Institute under 22 U.S.C. § 4606(a) and brings this action in his official capacity as the Institute’s

President and in his capacity as an ex officio member of the Board of Directors, as well as in his

individual capacity. Ambassador Moose began serving as duly appointed Acting President and

Chief Executive Officer of the Institute on April 25, 2024.

       12.15. Defendant Kenneth Jackson is the Assistant to the Administrator for Management

and Resources at USAID and, as explained in this Complaint, purports to be the acting president

of the United States Institute of Peace.

       13.16. Defendant U.S. DOGE Service is an entity that was created within the Executive

Office of the President by Executive Order 14158.

       14.17. Defendant U.S. DOGE Service Temporary Organization is an entity that was

created within the Executive Office of the President by Executive Order 14158.

       15.18. Defendant Amy Gleason is the Acting Administrator of U.S. DOGE Service and

U.S. DOGE Service Temporary Organization.

       16.19. Defendant James Burnham is an employee of the U.S. DOGE Service or the U.S.

DOGE Service Temporary Organization.




                                                  7
     Case 1:25-cv-00804-BAH           Document 12-9        Filed 03/24/25      Page 9 of 32




       17.20. Defendant Jacob Altik is an employee of the U.S. DOGE Service or the U.S. DOGE

Service Temporary Organization.

       18.21. Defendant Nate Cavanaugh is an employee of the U.S. DOGE Service or the U.S.

DOGE Service Temporary Organization.

       19.22. Defendant Marco Rubio is the U.S. Secretary of State and is an ex officio member

of the USIP Board of Directors.

       20.23. Defendant Pete Hegseth is the U.S. Secretary of Defense and is an ex officio

member of the USIP Board of Directors.

       21.24. Defendant Vice Admiral Peter A. Garvin is the President of the National Defense

University and is an ex officio member of the USIP Board of Directors.

       25.     Defendant Trent Morse is Deputy Director of Presidential Personnel in the White

House Presidential Personnel Office, the White House Office, and the Executive Office of the

President.

       22.26. Defendant Donald J. Trump is the President of the United States.

                                  JURISDICTION AND VENUE

       23.27. Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331, 1361, 1651,

2201, and 20222202, and because Plaintiffs allege violations of the United States Institute of Peace

Act, 22 U.S.C. § 4601 et seq.

       24.28. Venue is proper in this district pursuant to 28 U.S.C. § 1391(e), because at least one

of Defendants is headquartered in Washington, D.C., and a substantial part of the events or

omissions giving rise to Plaintiffs’ claims occurred in the District of Columbia.




                                                 8
     Case 1:25-cv-00804-BAH          Document 12-9        Filed 03/24/25      Page 10 of 32




                                   LEGAL FRAMEWORK

       25.29. In 1984, under the leadership of two World War II veterans, Senators Mark

Hatfield, a Republican, and Spark Matsunaga, culminated in the passage of a Democrat, Congress

enacted the United States Institute of Peace Act (the “USIP Act”), which was signed into law by

President Ronald Reagan.2 That Act of Congress established “an independent, nonprofit, national

institute to serve the people and the Government through the widest possible range of education

and training, basic and applied research opportunities, and peace information services on the means

to promote international peace and the resolution of conflicts among the nations and peoples of

the world without recourse to violence.” 22 U.S.C. § 4601(b). Congress confirmed the Institute’s

status as “an independent nonprofit corporation” outside of the Executive branch throughout the

USIP Act. 22 U.S.C. § 4601(b). 22 U.S.C. § 4603(b).

       26.     Congress confirmed the Institute’s status as an independent nonprofit corporation

outside of the Executive branch throughout the USIP Act. 22 U.S.C. § 4603(b).To preserve the

Institute’s independence while ensuring that it remains accountable to the United States public,

Congress crafted an oversight structure that carefully balances the involvement of the political

branches. First, Congress limited the Institute’s programmatic funding to public sources, including

congressional appropriations, whether obtained directly or through arrangements with Federal

agencies, and “from government at all levels.” 22 U.S.C. § 4604(h).

       30.     Second, Consistent with that, Congress exempted the Institute from federal income

tax. 22 U.S.C. § 4603(b). Congress granted the corporation all the powers of a nonprofit




       2
        United States Institute of Peace Act, Pub. L. No. 98-525, tit. XVII, § 1701, 98 Stat. 2492,
2649 (1984), 22 U.S.C. § 4601-4611, as amended.


                                                9
     Case 1:25-cv-00804-BAH           Document 12-9         Filed 03/24/25      Page 11 of 32




corporation under the District of Columbia Nonprofit Corporation Act except the power to dissolve

itself, a power reserved to Congress. 22 U.S.C. § 4604(a).

       27.31. Congress vested “[t]he powers of the Institute” in a Board of Directors. All of the

Board’s fifteen members (including the Secretaries of State and Defense and the President of the

National Defense University as ex officio members) must be “appointed by the President, by and

with the advice and consent of the Senate.” 22 U.S.C. § 4605(b). “Not more than eight voting

members of the Board . . . may be members of the same political party.” Id. at § 4605(c). The

three ex officio members serve at the pleasure of the President, while the twelve remaining

members may not be officers or employees of the United States Government. 22 U.S.C. §

4605(d)(2).

       28.32. Critically for this action, the twelve board members appointed under 22 U.S.C. §

4605(b)(4) may only be removed by the President “(1) in consultation with the Board, for

conviction of a felony, malfeasance in office, persistent neglect of duties, or inability to discharge

duties; (2) upon the recommendation of eight voting members of the Board; or (3) upon the

recommendation of a majority of the members of the Committee on Foreign Affairs and the

Committee on Education and Labor of the House of Representatives and a majority of the members

of the Committee on Foreign Relations and the Committee on Labor and Human Resources of the

Senate.” Id. at §§ 4605(b), (d), (f). None of the three exclusive methods for removal of a Board

member under § 4605(f) was followed here.

       29.33. Third, Congress protected the independence of the Institute’s officers and

employees by providing that the president of the Institute is appointed by the Institute’s Board,

and that “[a]ll officers shall serve at the pleasure of the Board.” 22 U.S.C. § 4606(a). In addition,

Congress explicitly provided that officers and employees of the Institute are not officers or




                                                 10
     Case 1:25-cv-00804-BAH           Document 12-9         Filed 03/24/25      Page 12 of 32




employees of the Federal Government except as related to liability and compensation levels. 22

U.S.C. § 4606(f).

       30.34. Fourth, Congress prohibited the use of political tests or political qualifications with

respect to personnel actions and the selection of grantees, contractors, or other recipients of

Institute funds. 22 U.S.C. § 4608(b).

       31.35. Fifth, Congress established various transparency requirements regarding the

Institute’s activities and use of Federal funds, including requiring the Institute to provide to the

President of the United States and each House of Congress an audit report that examines “[a]ll

books, accounts, financial records, files, and other papers, things, and property belonging to or in

use by the Institute,” 22 U.S.C. § 4607(h). The only Executive oversight authorized by Congress

with respect to the Institute’s financial activities separate from the Executive’s narrow, statutorily

prescribed relationship to the appointment and removal of the Board of Directors, is “the authority

of the Office of Management and Budget to review and submit comments on the Institute’s budget

request at the time it is transmitted to Congress.” 22 U.S.C. § 4608(a).

                                  FACTUAL ALLEGATIONS

A.     Executive Order 14217

       32.36. On February 19, 2025, President Trump signed Executive Order 14217.

       33.37. The stated purpose of the Executive Order is to “reduce the size of the Federal

Government,” with “a reduction in the elements . . . that the President has determined are

unnecessary.”

       34.38. The Executive Order lists federal entities that “shall be eliminated to the maximum

extent consistent with applicable law, and such entities shall reduce the performance of their




                                                 11
     Case 1:25-cv-00804-BAH           Document 12-9        Filed 03/24/25     Page 13 of 32




statutory functions and associated personnel to the minimum presence and function required by

law.”

         35.39. The Executive Order names the Institute as one of the entities purportedly covered

by the order.

         36.40. The Executive Order gave “the head of each unnecessary governmental entity” 14

days to submit a report to the Director of the Office of Management and Budget “confirming

compliance with this order and stating whether the governmental entity, or any components

thereof, are statutorily required and to what extent.”

         37.41. The Executive Order further provided that, in response to those reports, “the OMB

Director or the head of any executive department or agency charged with reviewing grant requests

by such entities shall, to the extent consistent with applicable law and except insofar as necessary

to effectuate an expected termination, reject funding requests for such governmental entities to the

extent they are inconsistent with this order.”

         38.42. The Executive Order “shall be implemented consistent with applicable law and

subject to the availability of appropriations.”

B.       DOGE Takes Action

         39.43. On February 20, 2025, the day after the Executive Order was issued, Chris Young,

a representative of the U.S. DOGE Service, contacted the Institute.

         40.44. The Institute agreed to hold a virtual meeting with DOGE representatives on

February 24, 2025. Ex. A, Amended Declaration of George Moose; Ex. D, Declaration of George

Foote.

         41.45. In that February 24 meeting, the Institute president, Mr.Acting President,

Ambassador Moose, and outside counsel for the Institute, George Foote, explained to DOGE




                                                  12
     Case 1:25-cv-00804-BAH           Document 12-9       Filed 03/24/25     Page 14 of 32




representatives Cavanaugh, Burnham, and Altik that the Institute is an independent nonprofit

corporation outside of the Executive branch. ; Ex. A, Amended Declaration of George Moose;

Ex. D, Declaration of George Foote.

          42.46. On March 5, 2025, the Institute submitted a courtesy letter to OMB responding to

the requests made in the Executive Order. The letter explained the Institute’s establishment by

Congress and its status as an independent nonprofit that is not an Executive branch entity and

reiterated the Institute’s willingness to maintain its longstanding cooperation with the Executive

branch with regard to the foreign policy agenda of the President of the United States. Ex. D, OMB

Letter.

          43.47. On or about March 8, 2025, Mr. Moose received word that DOGE was making

inquiries into the status of the Institute’s security operations. These inquiries were intended to

facilitate DOGE’s access to the Institute’s headquarters, just as DOGE had done with respect to

numerous executive agencies. Ex. A, Amended Declaration of George Moose.

          44.48. On or about March 9, 2025, USIP outside counsel George Foote emailed

Defendants Burnham, Altik, and Cavanaugh with information about the non-federalprivate nature

of the Institute’s security and the Institute’s ownership of its headquarters building. Mr. Foote

again confirmed that the Institute is an independent nonprofit corporation and stated that

unauthorized personnel would only be admitted with a valid warrant issued by a court. Ex. D.,

Declaration of George Foote.



C.        The Administration’s Unlawful Purported Removal of Board Members

          45.49. On or about March 14, 2025, the Institute’s Board of Directors had 13 members:

the three ex officio members under 22 U.S.C. § 4605(b)(1)-(3), and 10 members (five




                                                13
     Case 1:25-cv-00804-BAH           Document 12-9       Filed 03/24/25       Page 15 of 32




RepublicanRepublicans and five DemocratDemocrats) who had been duly appointed with the

advice and consent of the Senate pursuant to 22 U.S.C. § 4605(b)(4). The six Board Member

Plaintiffs were among the 10 duly appointed Institute Board members.

       46.50. On or about March 14, 2025, Trent Morse of the White House Presidential

Personnel Office emailed certain members of the Board, including the Board Member Plaintiffs,

claiming to inform them of their termination from the Board by President Trump. Those emails

did not state any justification for the purported terminations. See Ex. D, Declaration of George

MooseFoote.

       47.51. Shortly thereafter, on March 14, 2025, representatives from DOGE and Defendant

Jackson appeared at USIP headquarters building requesting access. Because the Institute has

administrative jurisdiction over the parcel of land on which its headquarters sits and the USIP

building is owned by the Institute, those representatives were denied entry.

       48.52. Later that same evening, Defendants Altik and Cavanaugh returned to the

Institute’s headquarters accompanied by FBI Special Agents and presented Mr. Foote with a

“resolution” signed by the three ex officio members of the Board purporting to remove Mr. Moose

from his position as Acting President of the Institute. Ex. F, Ex Officio Resolution.

       49.53. The resolution of the ex officio Board members also purported to install Defendant

Jackson as the acting president of the Institute.

D.     Trespass by DOGE Representatives on and against Institute Property

       50.     As noted, the Institute owns, occupies, possesses, and controls its headquarters

building, which is located at 2301 Constitution Avenue, NW, Washington, DC 20037 (“USIP

headquarters building”). Ex. A, Amended Declaration of George Moose. The USIP headquarters

building was constructed frombuilt by private contractors engaged by USIP and paid by a




                                                    14
     Case 1:25-cv-00804-BAH          Document 12-9        Filed 03/24/25      Page 16 of 32




combination of special appropriations and private gifts and contributions, as authorized by 22

U.S.C. § 4604(h)(3)(A).

       51.54. The Institute owns, possesses, and controls personal property, including but not

limited to records, files, computer equipment, other office equipment, furniture, and miscellaneous

items, located within the USIP headquarters building and at other locations. Ex. A, Amended

Declaration of George Moose.

       52.55. While the USIP headquarters building is situated on a parcel of land owned by the

United States of America, the U.S. Department of the Navy transferred administrative jurisdiction

of that parcel of real property to the Institute on November 21, 1996, following congressional

enactment into law of, and consistent with, Section 2831 of the National Defense Authorization

Act for Fiscal Year 1997 (“USIP parcel of land”).

       53.56. On March 17, 2025, at approximately 2:30 p.m., four employees of Inter-Con

Security Systems Inc. (“Inter-Con”), USIP’s former security contractor, arrived at USIP

headquarters.3 Ex. D, Declaration of George Foote; Ex. G, Declaration of Colin O’Brien. They

were unable to enter the building because their badges had been deactivated upon suspension of

USIP’s contract with Inter-Con. Ex. G, Declaration of Colin O’Brien.

       54.57. Upon their failed entry, another Inter-Con employee, Mr. Kevin Simpson, arrived

with a physical key that USIP had not yet confiscated after the suspension of the Inter-Con

contract. Ex. D, Declaration of George Foote; Ex. G, Declaration of Colin O’Brien. Mr. Simpson




       3
         In light of Inter-Con’s efforts to coordinate with Defendants and facilitate access to the
USIP headquarters building by the DOGE Defendants and Defendant Jackson, USIP suspended
its contract with Inter-Con on March 16 and terminated that contract on March 17. Ex. D,
Declaration of George Foote; Ex. G, Declaration of Colin O’Brien.


                                                15
     Case 1:25-cv-00804-BAH           Document 12-9      Filed 03/24/25      Page 17 of 32




used his key to gain entrance into the USIP headquarters building and let the other Inter-Con

employees in. Ex. D, Declaration of George Foote; Ex. G, Declaration of Colin O’Brien.

         55.58. After entering the headquarters building, the Inter-Con employees were advised by

Mr. Foote that they were trespassing. Ex. D, Declaration of George Foote; Ex. G, Declaration of

Colin O’Brien. Mr. Simpson and the staffers ignored Mr. Foote and proceeded to walk toward the

Institute’s gun safe. Ex. D, Declaration of George Foote; Ex. G, Declaration of Colin O’Brien.

Mr. Foote subsequently called the Washington, D.C. Metropolitan Police Department (“the MPD”)

to report the unlawful intrusion. Ex. D, Declaration of George Foote; Ex. G, Declaration of Colin

O’Brien. As the Inter-Con staff made their way to the gun safe, a building lockdown was initiated

by Mr. O’Brien after consultation with Mr. Moose. Ex. G, Declaration of Colin O’Brien.

         56.59. Inter-Con and DOGE personnel engaged in additional attempts to unlawfully

access the USIP headquarters building, but were eventually able to enter the building, forcibly

occupy it, and expel including the duly appointed USIP Acting President, other USIP personnel,

and outside counsel. See Ex. G, Declaration of Colin O’Brien.

         57.60. Even today, March 18In the days after the March 17 takeover of the USIP

headquarters building, Defendants’ aggressive efforts to gain control of USIP property and systems

and to paralyze the organization continuecontinued, including ordering a cut-off of USIP funds.

         61.    On or about March 21, 2025, Defendant Jackson purported to fire at least six USIP

employees based on their “at-will-employment status.” Ex. A, Amended Declaration of George

Moose.

   E. Defendants’ Actions Are Causing Irreparable Harm to Plaintiffs

         58.62. Unless Defendants are permanently enjoined from continuing their attacks on

USIP, Plaintiffs will suffer irreparable harm.




                                                 16
     Case 1:25-cv-00804-BAH            Document 12-9        Filed 03/24/25       Page 18 of 32




       59.63. Defendants have made clear that their goal is to reduce the Institute to what is, in

Defendants’ view, the “statutory minimums.” Such reduction would entail permanently shutting

down all functions and activities of the Institute except for the maintenance of its Board, the

appointment of a president, the payment of incidental expenses for the Board, and the submission

of certain reports to Congress and the Executive branch.

       60.64. Anticipated imminent activities by Defendants almost certainly include, inter alia,

cancelling most, if not all, of the Institute’s personal service contracts; cancelling contracts with

vendors; cancelling agreements with the Institute’s partners; freezing payments to vendors,

grantees, and employees; placing Institute staff on administrative leave or terminating their

employment; accessing computer systems; modifying and deleting electronic files, records,

including studies, analyses, and underlying data, and deleting databases that contain information

of USIP contacts and partners; destroying physical files; disposing of other Institute property. Ex.

H, Declaration of Shira Lowringer. As noted above, the firing of USIP staff has begun.

       61.65. Consistent with the Executive Order’s stated goal and DOGE’s prior practice,

Defendants will likely cancel most, if not all, of the Institute’s contracts with vendors and partners.

The cancellation of all existing contracts threatens two irreparable injuries for the Institute. The

first irreparable injury facing the Institute is potential liability for breach of contract. If the

Defendants were to cancel the Institute’s existing contracts with its vendors and partners, the

Institute would be in breach of said contracts and, therefore, vulnerable to lawsuits from its vendors

and partners.

       62.66. Typically, the threat of a breach of contract claim would not be considered an

irreparable harm because the injured party could recover in a subsequent lawsuit. Here, however,

the Institute would have no guarantee of recovering monetary damages from the Defendants




                                                  17
     Case 1:25-cv-00804-BAH           Document 12-9         Filed 03/24/25      Page 19 of 32




because the Defendants are protected by sovereign immunity. Wages and White Lion Investments,

L.L.C., v. United States Food and Drug Administration, 16 F.4th 1130, 1142 (5th Cir. 2021) (citing

Alabama-Coushatta Tribe of Texas v. Unted States, 757 F.3d 484, 488 (5th Cir. 2014)) (stating

“Federal agencies generally enjoy sovereign immunity for any monetary damages.”). Irreparable

harm exists when a party has “no guarantee of eventual recovery.” Alabama Association of

Realtors v. Department of Health and Human Services, 594 U.S. 758, 765 (2021).

       63.67. Moreover, cancelling the Institute’s contracts threatens irreparable harm to the

Institute’s goodwill and reputation. This court has held that “[i]njury to reputation and goodwill

is not easily measured in monetary terms,” and is therefore “often viewed as irreparable.” Jones

v. District of Columbia, 177 F.Supp.3d 542, 547 (D.D.C. 2016) (citing 11A Charles Alan Wright

et al., Federal Practice and Procedure § 2948.1 (3d ed. 2013 & 2015 Supp.). This court has been

explicit that “harm to reputation has been recognized repeatedly as a type of irreparable injury..”

Brodie v. U.S. Dep’t of Health and Human Services, 715 F. Supp. 2d 74, 84 (D.D.C. 2010) (citing

Alf v. Donley, 666 F.Supp.2d 60, 69 (D.D.C. 2009)).

       64.68. Further, all duly appointed USIP Board members are suffering irreparable harm as

long as they are deprived of their statutory entitlement to serve as members of the Institute’s Board.

       69.     The duly appointed USIP Board members have fiduciary duties to act in the best

interests of USIP. Consistent with these duties, they must take action to halt Defendants’ unlawful,

unauthorized attempts to dismantle the organization.

       65.70. This Court has recognized that even if the deprivation of a Senate-confirmed

appointee’s “statutory right to function” is temporary, the injury to them and their organization is

both significant and irreparable. Berry v. Reagan, No. 83-3182, 1983 WL 538, at *5 (D.D.C. Nov.

14, 1983) (granting preliminary injunction against removal of plaintiffs as members of the U.S.




                                                 18
      Case 1:25-cv-00804-BAH           Document 12-9         Filed 03/24/25      Page 20 of 32




Commission on Civil Rights), vacated as moot, 732 F.2d 949 (D.C. Cir. 1983) (per curiam).

Certainly, a damages remedy after a final judgment and all appeals have been exhausted is

ordinarily inadequate. See Mackie v. Bush, 809 F. Supp. 144, 147 (D.D.C. 1993) (granting TRO

against removal of plaintiff members of Postal Service Board of Governors), vacated as moot sub

nom. Mackie v. Clinton, 10 F.3d 13 (D.C. Cir. 1993) (per curiam).

                                       CAUSES OF ACTION

                                               Count I
                               Violation of the Separation of Powers
                                         Ultra Vires Action
                                          28 U.S.C. § 1361
                                          (All Defendants)

         66.71. Plaintiffs hereby re-allege and incorporate by reference all paragraphs above as if

fully set forth here.

         67.72. Plaintiffs have a non-statutory right of action to enjoin and declare unlawful official

action that is ultra vires.

         68.73. The Constitution vests executive power in the President. U.S. Const., art. II, and

imposes on the President a duty to “take Care that the Laws be faithfully executed.” U.S. Const.

art. II, § 3.

         69.    The President of the United States has only those powers conferred on him by the

Constitution and federal statutes.

         70.74. Federal legislation must be passed by both chambers of Congress before it may be

presented to the President, and, if signed, become law. U.S. Const., art. I. The executive power

vested in the President and Executive Branch have noin art. II, § 1 to faithfully execute law does

not include the authority under the Constitution to amend statutes unilaterally.or disregard acts of

Congress.




                                                  19
     Case 1:25-cv-00804-BAH          Document 12-9        Filed 03/24/25     Page 21 of 32




        71.75. Under the USIP Act, Congress established the Institute as an independent nonprofit

corporation. 22 U.S.C. § 4603(b).

        72.76. “Insofar as Congress has made explicit statutory requirements, they must be

observed.” Angelus Milling Co. v. Commissioner, 325 U.S. 293, 296 (1945).

        73.77. Defendants’ actions to exert control over USIP exceed executive authority, usurp

legislative authority conferred upon Congress by the Constitution, and violate the separation of

powers. All actions taken by Defendants in violation of the separation of powers, are ultra vires,

and should be enjoined.

                                           Count II
                                   Violation of the USIP Act
                                      22 U.S.C. § 4605(f)
                                 (Defendant President Trump)
                                       28 U.S.C. § 1361
                                       (All Defendants)

        74.78. Plaintiffs hereby re-allege and incorporate by reference all paragraphs above as if

fully set forth here.

        75.79. Under the USIP Act, Congress established the Institute as an independent nonprofit

corporation. 22 U.S.C. § 4603(b). Per the statute, “[t]he Institute may exercise the powers

conferred upon a nonprofit corporation by the District of Columbia Nonprofit Corporation Act.”

22 U.S.C. § 4604(a). The USIP Act further establishes the governance structure of the Institute,

mandating that “[t]he powers of the Institute shall be vested in a Board of Directors.” 22 U.S.C.

§ 4605(a).

        76.80. The statute sets out the exclusive methods and circumstances under which a

member of the Board appointed with the advice and consent of the Senate under 22 U.S.C. §

4605(b)(4) may be removed. 22 U.S.C. § 4605(f).




                                                20
     Case 1:25-cv-00804-BAH          Document 12-9        Filed 03/24/25     Page 22 of 32




        77.81. The notices emailed to such Board members purporting to terminate them did not

satisfy any of the methods or bases for removal in 22 U.S.C. § 4605(f).

        78.82. President Trump failed to comply with 22 U.S.C. § 4605(f)(1) by purporting to

terminate members of the Board without “consult[ing] with the Board” and without identifying

any “conviction of a felony, malfeasance in office, persistent neglect of duties, or inability to

discharge duties.” 22 U.S.C. § 4605(f)(1).

        79.83. President Trump failed to comply with 22 U.S.C. § 4605(f)(2) by purporting to

remove the members of the Board without “the recommendation of eight voting members of the

Board.”

        80.84. President Trump failed to comply with 22 U.S.C. § 4605(f)(3) by purporting to

remove the members of the Board without “the recommendation of a majority of the members of

the Committee on Foreign Affairs and the Committee on Education and Labor of the House of

Representatives and a majority of the members of the Committee on Foreign Relations and the

Committee on Labor and Human Resources of the Senate [now the HELP Committee]”.

        81.85. Accordingly, President Trump’s actions to remove the members of the Institute’s

Board are unlawful and without legal effect.


                                          Count III
                                     Ultra Vires Action
                                      22 U.S.C. § 4605
                                      28 U.S.C. § 1361
                             (Defendants Rubio, Hegseth, Garvin)

        82.86. Plaintiffs hereby re-allege and incorporate by reference all paragraphs above as if

fully set forth here.

        83.87. The purported Board resolution attempting to remove George Moose as Acting

President of the Institute, which resolution was adopted by the three ex officio members of the



                                                21
     Case 1:25-cv-00804-BAH           Document 12-9        Filed 03/24/25      Page 23 of 32




Board, was ultra vires because the purported removal of the Institute’s Board members duly

appointed pursuant to 22 U.S.C. § 4605(b)(4) was in violation of the USIP Act and without legal

effect, as discussed in Count II.

         84.88. Under the USIP Act, “the Board shall appoint the president of the Institute and such

other officers as the Board determines to be necessary.” 22 U.S.C. § 4606(a). The Act requires

Board meetings to be conducted “at any time pursuant to the call of the Chairman, or as required

in writing to the Chairman by at least five members of the Board.” 22. U.S.C. § 4605(h)(2).

Further, “[a] majority of the members of the Board shall constitute a quorum for any Board

meeting.” Id.

         85.89. As discussed in Count II, President Trump’s purported termination of the Board

members, including the Chairman, John Sullivan, violated the USIP Act and thus has no legal

effect. Thus, the Institute’s Board members, including Chairman Sullivan, continued to be duly

appointed, lawful members of the Institutes’ Board at the time of the purported meeting of the

three ex officio Board members that resulted in the “resolution” to remove Mr. Moose.

         86.90. Accordingly, the purported meeting of the ex officio Board members was not

conducted “pursuant to the call of the Chairman.” 22 U.S.C. § 4605(h)(2). That purported meeting

was not “requested in writing to the Chairman by at least five members of the Board.” Id. Nor

did the meeting have the quorum required for official Board action. Id. Thus, any purported

meeting of the ex officio members that occurred was not an authorized meeting of the Institute’s

Board.

         91.    The purported termination of Plaintiff Ambassador Moose as Acting President was

undertaken inconsistently with the Institute’s bylaws and provisions of the USIP Act governing

Board procedure.




                                                 22
     Case 1:25-cv-00804-BAH            Document 12-9      Filed 03/24/25      Page 24 of 32




        87.92. As a result, the purported termination of Mr. Moose as Acting President of the

Institute was ultra vires and without legal effect.

                                          Count IV
                                      Ultra Vires Action
                                       22 U.S.C. § 4605
                                       28 U.S.C. § 1361
                         (Defendants Jackson, Rubio, Hegseth, Garvin)

        88.93. Plaintiffs hereby re-allege and incorporate by reference all paragraphs above as if

fully set forth here.

        89.94. The purported Board resolution attempting to designate Defendant Jackson as

acting president of the Institute, which resolution was adopted by the three ex officio members of

the Board, was ultra vires because the purported removal of the Institute’s Board members duly

appointed pursuant to 22 U.S.C. § 4605(b)(4) was in violation of the USIP Act and without legal

effect, as discussed in Counts II and III.

        90.95. Under the USIP Act, “the Board shall appoint the president of the Institute and such

other officers as the Board determines to be necessary.” 22 U.S.C. § 4606(a). The Act requires

Board meetings to be conducted “at any time pursuant to the call of the Chairman, or as required

in writing to the Chairman by at least five members of the Board.” 22. U.S.C. § 4605(h)(2).

Further, “[a] majority of the members of the Board shall constitute a quorum for any Board

meeting.” Id.

        91.96. As discussed in Counts I and II, President Trump’s purported termination of the

Board members, including Chairman John Sullivan, violated the USIP Act and thus has no legal

effect. Thus, the Institute’s Board members, including Chairman Sullivan, continued to be duly

appointed, lawful members of the Institutes’ Board at the time of the purported meeting of the




                                                 23
     Case 1:25-cv-00804-BAH           Document 12-9       Filed 03/24/25      Page 25 of 32




three ex officio Board members that resulted in the “resolution” to install Mr. Jackson as acting

president.

         92.97. Accordingly, the purported meeting of the ex officio Board members was not

conducted “pursuant to the call of the Chairman.” 22 U.S.C. § 4605(h)(2). That purported meeting

was not “requested in writing to the Chairman by at least five members of the Board.” Id. Nor

did the meeting have the quorum required for official Board action. Id. Thus, any purported

meeting of the ex officio members that occurred was not an authorized meeting of the Institute’s

Board.

         98.    The purported designation of Mr. Jackson as acting president of the Institute was

undertaken inconsistently with the Institute’s bylaws and provisions of the USIP Act governing

Board procedure.

         93.99. As a result, the purported designation of Mr. Jackson as acting president of the

Institute was ultra vires and without legal effect.


                                           Count V
                                Administrative Procedure Act
                                     5 U.S.C. § 701, et seq.
                         (Defendants Jackson, Rubio, Hegseth, Garvin)

         100.   Plaintiffs hereby re-allege and incorporate by reference all paragraphs above as if

fully set forth here.

         101.   To the extent Defendants Rubio, Hegseth, and Garvin were acting in their official

capacities as Secretary of State, Secretary of Defense, and President of the National Defense

University, respectively, their actions are reviewable under the Administrative Procedure Act. 5

U.S.C. § 702.

         102.   The actions of Defendants Rubio, Hegseth, and Garvin set forth herein should be

held unlawful and set aside because they were and are arbitrary; capricious; abuses of discretion;


                                                 24
       Case 1:25-cv-00804-BAH        Document 12-9          Filed 03/24/25    Page 26 of 32




in excess of statutory jurisdiction, authority, or limitations, or short of statutory right; without

observance of procedure required by law; and otherwise not in accordance with law.” 5 U.S.C. §

706.


                                         Count VI
              Ejectment for Trespass, Attempted Trespass, and Threatened Trespass
                                  to Real and Personal Property
             (Defendants Jackson, U.S. DOGE Service, U.S. DOGE Service Temporary
                                       Organization)

        94.103.         Plaintiffs hereby re-allege and incorporate by reference all paragraphs

above as if fully set forth here.

        95.104.         Plaintiff USIP is, and at all times mentioned in this Complaint was, the

owner, occupier, possessor, and controller of the USIP headquarters building.

        96.105.         Plaintiff USIP is, and at all times mentioned in this Complaint was, the

owner, possessor, and controller of personal property, including but not limited to records, files,

computer equipment, other office equipment, furniture, and miscellaneous items, located within

the USIP headquarters building and at other locations.

        97.106.         At all times relevant to this Complaint, Plaintiff USIP is, and was, the

occupier, possessor, controller, and steward of the USIP parcel of land located at 2301 Constitution

Avenue, NW, Washington, DC 20037.

        98.107.         At all times relevant to this Complaint, Plaintiff USIP has and had

administrative jurisdiction over the USIP parcel of land.

        99.108.         Defendants, including DOGE and its representatives, have willfully and

repeatedly trespassed upon and obstructed Plaintiff USIP’s use and enjoyment of its real property

as described in this Complaint. Defendants, including DOGE and its representatives, have

willfully and repeatedly attempted to further trespass upon and obstruct Plaintiff USIP’s use and



                                                25
     Case 1:25-cv-00804-BAH           Document 12-9        Filed 03/24/25      Page 27 of 32




enjoyment of its real property as described in this Complaint. Defendants, including DOGE and

its representatives, have willfully and repeatedly threatened to, in the future, trespass upon and

obstruct Plaintiff USIP’s use and enjoyment of its real property as described in this Complaint.

          100.109.     Defendants who trespassed on USIP headquarters property did so in their

official capacity as representatives of DOGE.

          101.110.     Plaintiff USIP repeatedly advised Defendants in writing and otherwise that

DOGE representatives, and other persons not authorized by the Institute, were not permitted to

enter the USIP headquarters building and were not permitted to enter onto the USIP parcel of land.

          102.111.     Accordingly, Defendants knew or should have known that such trespass

was in violation of Plaintiff’s USIP’s right to free enjoyment and use of its property.

          103.112.     Defendants have threatened future trespass to personal property of Plaintiff

USIP, with the intention of, inter alia, accessing and modifying Institute computer systems and

disposing of or destroying other personal property owned by the Institute. The statements and

actions by DOGE representatives evidence their intention to impair the operations of the Institute

by, inter alia, freezing payments to vendors and grantees, terminating contracts, deleting or

destroying electronic and physical files and records, and otherwise disposing of or destroying

personal property belonging to the Institute.

          104.113.     Unless Defendants are enjoined, Plaintiff USIP will suffer irreparable

injury.

          114.   Injunctions to remove unlawful occupants from real property have long been

recognized in common law as ejectment. See D.C. Code 16-1101.

                                           Count VII
                                            Count VI
                                    Declaratory Judgment Act
                                   28 U.S.C. §§ 2201 and 2202



                                                26
     Case 1:25-cv-00804-BAH           Document 12-9         Filed 03/24/25     Page 28 of 32




                                         (All Defendants)

        105.115.        Plaintiffs hereby re-allege and incorporate by reference all paragraphs

above as if fully set forth here.

        106.116.        Plaintiffs are entitled to declaratory relief on the basis of all claims

identified. There is substantial and ongoing controversy between Plaintiffs and Defendants, which

creates confusion among the Institute’s staff, external partners, and the public regarding who has

the authority to control and direct actions of the Institute. A declaration of rights under the

Declaratory Judgment Act is both necessary and appropriate to establish that the Institute’s Board

members, whom the President of the United States has illegally attempted to remove, lawfully

remain members of the Institute’s Board of Directors, and Mr.that Ambassador Moose lawfully

remains the Acting President of the Institute. Plaintiffs further request declaratory relief to make

clear that Defendant Jackson has not been lawfully appointed to any position within the Institute.

                          DEMAND FOR JUDGMENT AND RELIEF

        WHEREFORE, for the foregoing reasons, Plaintiffs respectfully request that this Court:

        (1) Sustain Plaintiffs’ Complaint herein;

        (2) Enter a preliminary and permanent injunction4 ordering that the Institute’s Board

            members duly appointed under 22 U.S.C. § 4605(b)(4), including the Board Member




        4
          To the extent that the Government intends to seek a security under Rule 65(c), Plaintiffs
request that the security be waived in this case. District courts enjoy broad discretion to determine
the security amount or to waive the security requirement altogether. See Simms v. District of
Columbia, 872 F. Supp. 2d 90, 107 (D.D.C. 2012) (“Courts in this Circuit have found the Rule
‘vest[s] broad discretion in the district court to determine the appropriate amount of aninjunctionan
injunction bond,’ including the discretion to require no bond at all.”) (quoting DSE, Inc. v. United
States, 169 F.3d 21, 33 (D.C. Cir. 1999)); Moltan Co. v. Eagle-Picher Indus., 55 F.3d 1171, 1176
(6th Cir. 1995). There is a longstanding exception to the security requirement in public-interest
cases like these. See City of Atlanta v. Metro. Atlanta Rapid Transit Auth., 636 F.2d 1084, 1094
(5th Cir. 1981) (“[P]ublic-interest litigation [constitutes] an area in which the courts have


                                                 27
     Case 1:25-cv-00804-BAH          Document 12-9        Filed 03/24/25      Page 29 of 32




           Plaintiffs, may not be removed from the Board or in any way be treated as having

           been removed, denied, or otherwise be obstructed from their ability to carry out their

           duties as Board members, absent express permission from the Court upon a finding

           by the Court that the action to remove them complies with 22 U.S.C. § 4605(f);;

       (3) Enter a preliminary and permanent injunction ordering that George Moose may not be

           removed as USIP Acting President or in any way be treated as having been removed,

           denied, or obstructed in accessing any of the benefits or resources of his office or

           otherwise be obstructed from his ability to carry out his duties as President, absent

           express permission from the Court upon a finding by the Court that the action to

           remove him is in compliance with all procedures for valid Board action set out in the

           USIP ActActing President;

       (4) Enter a preliminary and permanent injunction compelling that the emails purporting

           to terminate the Institute’s Board members duly appointed under 22 U.S.C. §

           4605(b)(4) and the notice purporting to terminate Plaintiff Moose be withdrawn and

           rescinded as null and void,

       (4)(5) Enter a preliminary and permanent injunction ejecting Defendants from the USIP

           parcel of land and USIP headquarters building and prohibiting trespass by Defendants

           against real and personal property belonging to the Institute;




recognized an exception to the Rule 65 security requirement.”); Natural Res. Def. Council, Inc. v.
Morton, 337 F. Supp. 167, 169 (D.D.C. 1971) (“The purpose of the security given under Rule
65(c) is to cover the costs and damages suffered by the party wrongfully enjoined. It would be a
mistake to treat a revenue loss to the Government the same as pecuniary damage to a private
party.”).



                                                28
   Case 1:25-cv-00804-BAH              Document 12-9     Filed 03/24/25      Page 30 of 32




     (5)(6) Enter a preliminary and permanent injunction prohibiting Defendants, or any

         other person acting in concert with Defendants, from maintaining, retaining, gaining,

         or exercising any access or control over Plaintiffs’ offices, facilities, computer

         systems, accounts, or any other records, files, or resources, and from acting or

         purporting to act in the name of Institute, and from using the Institute’s name,

         emblem, badge, seal, and any other mark of recognition of the Institute;

     (6)(7) Declare that the Institute’s Board members duly appointed under 22 U.S.C. §

         4605(b)(4), including the Board Member Plaintiffs, lawfully remain members of the

         Institute’s Board of Directors;

     (7)(8) Declare that Mr.Ambassador George Moose lawfully remains the presidentActing

         President of the Institute;

     (8)(9) Declare that Mr. Kenneth Jackson has not been lawfully appointed to any position

         within the Institute;

     (9)(10) Provide any such further relief as this Court deems just and proper.



                                                 Respectfully submitted,

Dated: March 1824, 2025
                                                 /s/ Andrew N. Goldfarb
                                                 Andrew N. Goldfarb (D.C. Bar 455751)
                                                 Alyssa Howard Card (D.C. Bar 1708226)
                                                 J. Benjamin Jernigan (D.C. Bar 9000865)
                                                 ZUCKERMAN SPAEDER LLP
                                                 2100 L Street NW, Suite 400
                                                 Washington, DC 20037
                                                 Tel: (202) 778-1800
                                                 Fax: (202) 822-8106
                                                 agoldfarb@zuckerman.com
                                                 acard@zuckerman.com
                                                 bjernigan@zuckerman.com




                                              29
Case 1:25-cv-00804-BAH   Document 12-9    Filed 03/24/25   Page 31 of 32




                                  /s/ George Foote
                                  George Foote (D.C. Bar 202812)
                                  Whitney M. Rolig (D.C. Bar No. 187305)
                                  Sophia J.C. Lin (D.C. Bar No. 1632379)
                                  PICARD KENTZ & ROWE LLP
                                  1155 Connecticut Avenue, N.W.,
                                  Suite 700
                                  Washington, D.C. 20036
                                  Tel: (202) 331-4040


                                  Counsel to Plaintiffs




                                30
     Case 1:25-cv-00804-BAH             Document 12-9    Filed 03/24/25    Page 32 of 32




                                        CERTIFICATE OF SERVICE

       I hereby certify that on this 24th day of March, 2025, I caused the foregoing to be filed

electronically with the Clerk of the Court using CM/ECF, which will then send a notification of

such filing to all counsel of record.



                                              /s/ Andrew N. Goldfarb
                                              Andrew N. Goldfarb
                                              Counsel for Plaintiffs




                                                31
